     Case 4:19-cv-07123-PJH        Document 509-1    Filed 01/09/25    Page 1 of 3




 1    JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
       jakro@kslaw.com
 2    AARON S. CRAIG (Bar No. 204741)
       acraig@kslaw.com
 3    KING & SPALDING LLP
      633 West Fifth Street, Suite 1700
 4    Los Angeles, CA 90071
      Telephone: (213) 443-4355
 5    Facsimile: (213) 443-4310
 6    Attorneys for Defendants NSO GROUP TECHNOLOGIES
      LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                        OAKLAND DIVISION
10

11    WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware
12    corporation,                                  DECLARATION OF JOSEPH N.
                                                    AKROTIRIANAKIS IN SUPPORT OF
13                 Plaintiffs,                      MOTION TO EXCLUDE OR LIMIT THE
                                                    OPINIONS OF PLAINTIFFS’ PROPOSED
14          v.                                      EXPERT ANTHONY VANCE, PH.D.
15    NSO GROUP TECHNOLOGIES LIMITED
      and Q CYBER TECHNOLOGIES LIMITED,             Action Filed: 10/29/2019
16

17                 Defendants.

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      DECLARATION OF JOSEPH N.                                          Case No. 4:19-cv-07123-PJH
      AKROTIRIANAKIS
     Case 4:19-cv-07123-PJH         Document 509-1          Filed 01/09/25    Page 2 of 3




 1           I, Joseph N. Akrotirianakis, declare as follows:
 2           1.      I am a member of the California State Bar and the bar of this court. I am a partner

 3    in the law firm of King & Spalding LLP and lead counsel to NSO Group Technologies Limited

 4    and Q Cyber Technologies Limited (collectively “NSO” or “Defendants”) in this action. I have

 5    personal knowledge of the facts set forth herein and, except as otherwise stated, could testify

 6    competently to each fact herein.

 7           2.      Attached as Exhibit A is a true and correct copy, less attachments, of an email from

 8 Davis Polk & Wardwell LLP to King & Spalding LLP dated July 9, 2024.
 9           3.      Attached as Exhibit B is a true and correct copy, less attachments, of an email from

10 Davis Polk & Wardwell LLP to King & Spalding LLP dated July 19, 2024.

11           4.      Attached as Exhibit C is a true and correct copy of the Expert Report of Anthony

12 Vance dated August 30, 2024.

13           5.      On August 30, 2024, NSO disclosed its own expert witnesses and their affirmative

14 opinions. Those witnesses included Terrence McGraw, Colonel Ty Shepard (ret.), and John Town.

15           6.       Attached as Exhibit D is a true and correct copy of the Rebuttal Report of Anthony

16 Vance dated September 21, 2024.

17           7.      I took the deposition of Anthony Vance, Ph.D., on November 14, 2024. A true and

18 correct copy of excerpts from the deposition transcript is attached as Exhibit E.
19           8.      On December 30, 2024, counsel for the parties met and conferred regarding trial

20 planning and the effect of the Court’s recent order on liability. My partners Aaron Craig and

21 Matthew Dawson attended the conference on behalf of Defendants. During the conference, the

22 plaintiffs acknowledged that some of the opinions offered by their experts could be moot, but were

23 not prepared to discuss which opinions they still considered relevant. They suggested that their

24 primary technical cybersecurity expert, David Youssef, may not be required to testify, particularly

25 if NSO’s technical expert Terrence McGraw would not testify. The plaintiffs also suggested that

26 Dr. Vance’s opinions may no longer be relevant to their case in chief, but that his opinions could

27 be necessary to rebut testimony from NSO’s experts. The plaintiffs indicated that they would

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       DECLARATION OF JOSEPH N.                         1                     Case No. 4:19-cv-07123-PJH
       AKROTIRIANAKIS
     Case 4:19-cv-07123-PJH         Document 509-1         Filed 01/09/25     Page 3 of 3




 1    provide a proposal regarding the voluntary exclusion of various experts. As of January 9, 2025,

 2    no such proposal had been received.

 3           9.      During fact discovery, in exchange for not having to respond to discovery about

 4    Plaintiffs’ reputation served by Defendants, Plaintiffs’ counsel agreed that they would not try to

 5 introduce evidence of reputational harm or loss of goodwill to obtain money damages or equitable

 6 relief, and further confirmed that they would not use such evidence to otherwise inject those issues

 7 into the litigation for any part of Plaintiffs’ case-in-chief.

 8           I declare under penalty of perjury that the foregoing is true and correct. Executed this 9th

 9 day of January 2025, in Altadena, California.

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                                       /s/ Joseph N. Akrotirianakis
11                                    JOSEPH N. AKROTIRIANAKIS
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        DECLARATION OF JOSEPH N.                       2                       Case No. 4:19-cv-07123-PJH
        AKROTIRIANAKIS
